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				REINSTATEMENT OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2016 OK 50Decided: 05/02/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 50, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.



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ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Court Reporters named below be reinstated as these reporters have complied with the continuing education requirements for calendar year 2015 and/or with the annual certificate renewal requirements for 2016, and have paid all applicable penalty fees.

IT IS HEREBY ORDERED that, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23, the certificates of the following court reporters are reinstated from the suspension earlier imposed by this Court:


	
		
			
			Name &amp; CSR #
			
			
			Effective Date of Reinstatement
			
		
		
			
			Lori Byrd, CSR #1981
			
			
			April 15, 2016
			
		
		
			
			Renatta Thompson, CSR #606
			
			
			April 13, 2016
			
		
	


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DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2nd day of May, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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